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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA

   UNITED STATES OF AMERICA,     )              Case No.: 3:17-cv-515-AJB-WVG
                                 )
          Plaintiff,             )              TABLE OF CONTENTS FOR
                                 )              EXHIBITS TO UNITED
          v.                     )              STATES’ MOTION FOR
                                 )              PROTECTIVE ORDER
   RAJMP, INC.; JOAN M. POLITTE; )              REGARDING DISCOVERY
   MERRILL LYNCH BUSINESS;       )              PERTAINING TO THE
   FINANCIAL SERVICES, INC.;     )              DETERMINATION THAT
   CHICAGO TITLE COMPANY;        )              ROBERT A. POLITTE AND
   TBC CORPORATION;              )              JOAN M. POLITTE ARE
   SC TELECOM, LLC; WELLS FARGO )               ALTER EGOS OF RAJMP,
   BANK, N.A.; PACIFIC WESTERN   )              INC.


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   BANK; OUTFRONT MEDIA, INC.;       )
   HALLE PROPERTIES, L.L.C.;         )
   POFACO, INC.; COUNTY OF;          )
   SAN DIEGO; MIDAS REALTY           )
   CORPORATION; KELLY M.;            )
   POLITTE as the Personal           )
   Representative of the ESTATE OF   )
   ROBERT A. POLITTE; TED R.         )
   POLITTE as the Personal           )
   Representative of the ESTATE OF   )
   ROBERT A. POLITTE,                )
                                     )
           Defendants.               )
   _________________________________ )


   Exhibit Number     Description                                     Page Numbers

   1                  Complaint, First Amended Complaint,             1-154
                      Second Amended Complaint, and Third
                      Amended Complaint (with Exhibits A-C
                      attached thereto) filed in Politte, et al. v.
                      United States, 07-cv1950-AJB-WVG

   2                  Plaintiffs Notice of Motion and Motion          155-197
                      for Partial Summary Judgment as to the
                      Alter Ego Tax Liens (ECF No. 71) filed
                      in Politte, et al. v. United States, 07-
                      cv1950-AJB-WVG

   3                  Order: Denying Plaintiffs’ Motion for           198-209
                      Partial Summary Judgment (ECF No.
                      120) filed in Politte, et al. v. United
                      States, 07-cv1950-AJB-WVG

   4                  Order (1) Granting in Part and Denying     210-215
                      in Part Defendant’s Motion to Strike and
                      (2) Denying as Moot Defendant’s Motion
                      to Clarify (ECF No. 158) filed in Politte,




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                      et al. v. United States, 07-cv1950-AJB-
                      WVG

   5                  Plaintiffs’ First Set of Interrogatories in   216-224
                      Politte, et al. v. United States, 07-
                      cv1950-AJB-WVG

   6                  Defendant Joan M. Politte’s First Set of      225-239
                      Interrogatories to Plaintiff United States
                      of America in this case




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